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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

DANYAL SHAIKH,                                §
    Plaintiff,                                §
                                              §
v.                                            § Civil Action No. 4:16-CV-00591
                                              §
TEXAS A&M UNIVERSITY                          §
COLLEGE OF MEDICINE et al.,                   §
    Defendant.                                §

________________________________________________________________________

             UNOPPOSED MOTION TO CONTINUE HEARING
________________________________________________________________________

       Defendant, Texas A&M University College of Medicine (“TAMU”), respectfully

asks this Court to reset the November 15, 2019 hearing due to defense counsel’s

unavailability on this date. Defendant’s counsel has conferred with opposing counsel and

the court coordinator regarding mutually available dates for the parties and this Court,

and this motion to reset the hearing to December 10, 12, or 13, 2019 is unopposed.

       1.     On October 23, 2019, the Court set a hearing in this matter for 10:30 am on

November 15, 2019 (dkt. 88).

       2.     However, counsel for TAMU has non-refundable, out-of-state travel plans

from Nov. 7 through Nov. 20, 2019, and, thus, is unavailable to attend the hearing on

November 15.

       3.     Counsel for TAMU conferred with the Court Coordinator and opposing

counsel to determine mutually available dates to reschedule the hearing, and determined

that all parties and the Court are presently available for a hearing on the following dates:

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         December 10, 2019
         December 12, 2019
         December 13, 2019

         4.    Plaintiff is unopposed to this request for a continuance to one of these

dates.

         5.    This continuance will not affect any other deadlines in this case and is not

sought for purposes of delay.

         ACCORDINGLY, Defendant TAMU respectfully requests that the Court continue

the hearing scheduled for November 15, 2019 and reset it for one of the above-listed

dates or another date convenient to the Court and the parties.

                                          Respectfully submitted.

                                          KEN PAXTON
                                          Attorney General of Texas

                                          JEFFREY C. MATEER
                                          First Assistant Attorney General

                                          DARREN L. MCCARTY
                                          Deputy Attorney General for Civil Litigation

                                          THOMAS A. ALBRIGHT
                                          Chief, General Litigation Division

                                          /s/ Emily Ardolino
                                          EMILY ARDOLINO
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                                       emily.ardolino@oag.texas.gov
                                       Attorneys for Defendant



                             CERTIFICATE OF CONFERENCE

        I hereby certify that I conferred with Plaintiff Danyal Shaikh’s counsel,
Martin Cirkiel, regarding his opposition to this continuance and availability for
dates in December 2019 by email on October 31, 2019. On November 1, 2019, Mr.
Cirkiel responded that he was unopposed to this motion and available on the dates
listed.


                                             /s/ Emily Ardolino
                                             EMILY ARDOLINO
                                             Assistant Attorney General



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed
electronically with the Court delivered by CM/ECF and by e-mail on November 1,
2019 to:

Martin J. Cirkiel
Holly Griffith Terrell
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Plaintiff’s Attorneys


                                       /s/ Emily Ardolino
                                       EMILY ARDOLINO
                                       Assistant Attorney General




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